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                         IN THE UNITED STATES DISTRICT COURT

                          FOR THE EASTERN DISTRICT OF TEXAS

                                        TYLER DIVISION



 UNITED STATES OF AMERICA                        §

 Vs.                                             §           CRIMINAL ACTION 6:08CR17

 CURTIS O’NEIL FORD                              §

          ORDER ADOPTING MAGISTRATE JUDGE’S FINDINGS OF FACT AND
                 RECOMMENDATION ON FELONY GUILTY PLEA


        On this day, the Court considered the Findings of Fact and Recommendation of United States

 Magistrate Judge Judith K. Guthrie regarding the Defendant’s plea of guilty to Count 1 of an

 Information in the above-numbered cause. Having conducted a proceeding in the form and manner

 prescribed by Fed.R.Crim.P. 11, Magistrate Judge Guthrie recommends that the Court accept the

 plea agreement and the guilty plea of the Defendant.

        No objections have been filed to the Magistrate Judge’s Findings and Recommendation

 within the time period set by law, and neither party has requested a de novo review of the plea

 proceedings before the Magistrate Judge. If a de novo review becomes necessary at any point during

 the pendency of the cause, the Court reserves the right to conduct it. Based on the current record

 before the Court, it appearing that the Findings and Recommendation are neither clearly erroneous

 nor contrary to law, the Court is of the opinion that said Findings and Recommendation should be

 adopted. It is accordingly

        ORDERED that the Findings of Fact and Recommendation of United States Magistrate


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    Judge Judith K. Guthrie, filed June 24, 2008, is hereby ADOPTED. It is further

            ORDERED that the Defendant’s guilty plea is accepted and approved by the Court. Further,
.
    the plea agreement is approved by the Court, conditional upon a review of the presentence report.

    It is finally

            ORDERED that, pursuant to the Defendant’s plea agreement, the Court finds the Defendant

    GUILTY of Count 1 of the Information in the above-numbered cause and enters a JUDGMENT

    OF GUILTY against the Defendant as to Count 1 of the Information.


     SIGNED this 14th day of July, 2008.




                                                       ____________________________________
                                                       MICHAEL H. SCHNEIDER
                                                       UNITED STATES DISTRICT JUDGE




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